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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 AVALON HOLDINGS CORP.,

                    Plaintiff,                     No. 18-Civ-7291-VSB

                    v.                             (ECF)

 GUY GENTILE and
 MINTBROKER INTERNATIONAL, LTD.

                    Defendants.



 Related to:

 NEW CONCEPT ENERGY, INC.
                                                   No. 18-Civ. 8896-VSB
                    Plaintiff,

                    v.

 GUY GENTILE and
 MINTBROKER INTERNATIONAL, LTD.

                    Defendants.


       NOTICE OF MOTION OF ADAM C. FORD TO DISMISS OR TRANSFER


               PLEASE TAKE NOTICE that upon the annexed: (1) Declaration of Adam C.

Ford in Support of Motion to Dismiss of Transfer dated December 27, 2018, together with the

exhibits annexed thereto; (2) Affidavit of Guy Gentile in Support of Motion to Dismiss of

Transfer dated December 21, 2018; (3) Affidavit of MintBroker International Ltd. (Bahamas) in

Support of Motion to Dismiss of Transfer dated December 20, 2018; and (4) the accompanying

Memorandum of Law in Support of Motion to Dismiss of Transfer dated December 27, 2018,

Defendants, by and through their undersigned counsel, will move to dismiss or to transfer in this

Court pursuant to 12(b)(3) and 12(b)(6) of the Federal Rules of Civil Procedure at the United
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States Courthouse, Southern District of New York, 500 Pearl Street, New York, NY 10007, on

such date and at such time as the Court may direct, for an order granting Defendants instant

Dismissal or Transfer with respect to and for such other and further relief as the Court may deem

just and proper.



Dated: New York, New York
       December 27, 2018

                                              FORD O’BRIEN LLP

                                              By: /s/ Adam C. Ford
                                                  Adam C. Ford
                                                  Robert S. Landy
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                                                  New York, NY 10017
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                                                  rlandy@fordobrien.com

                                              Attorneys for Guy Gentile and MintBroker
                                              International Ltd. (Bahamas)




TO:

All Counsel of Record (via ECF)




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